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                        UNITED STATES DISTRICT COURT

                     SOUTHERN DISTRICT OF CALIFORNIA

                                                        CASE NO. 12CR0814-IEG
UNITED STATES OF AMERICA,
                Plaintiff                               JUDGMENT AND ORDER OF DISMISSAL OF
          vs.                                           INFORMATION, EXONERATE BOND AND
                                                        RELEASE OF PASSPORT
BRANDON JOSHUA WINZER
              Defendant


       Upon motion of the UNITED STATES OF AMERICA and good cause appearing,


       IT IS SO ORDERED that the information in the above-entitled case be dismissed with

prejudice, the bond be exonerated, and passport released by Pretrial if held.


       IT IS SO ORDERED.


       DATED:     ?){j; If?



                                              H~CURINE'Jr.
                                              United States Magistrate Judge
